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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

JOHN DOE and
OKLAHOMA WESLEYAN UNIVERSITY,

                 Plaintiffs,

     v.                                                 Case No. 1:16-cv-01158 (RC)

CANDICE JACKSON, in her official capacity
as Acting Assistant Secretary for Civil Rights,
United States Department of Education, et al.,

                 Defendants.


                                  STIPULATION OF DISMISSAL

          Plaintiffs in this action challenged a guidance document issued by the Department of

Education’s Office for Civil Rights in 2011 (the “2011 Dear Colleague Letter”). On September

22, 2017, after the action was commenced, the Office for Civil Rights issued a new Dear

Colleague Letter stating that “the Department of Education is withdrawing the statements of

policy and guidance reflected in” the 2011 Dear Colleague Letter and a related 2014 Questions

and Answers document and “will not rely on the withdrawn documents in its enforcement of

Title IX.” A copy of the Dear Colleague Letter withdrawing the earlier guidance is attached.

          The parties hereby stipulate to dismissal of this action, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), each side to bear its own attorneys’ fees and costs.

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DATED: February 21, 2017                          Respectfully submitted,

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